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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 15-964V
                                       Filed: June 24, 2016

* * * * * * * * * * * * * * * *                            UNPUBLISHED
KATHY AIKIN,                                 *
                                             *             Special Master Hamilton-Fieldman
               Petitioner,                   *
                                             *             Joint Stipulation on Damages;
v.                                           *             Influenza (“Flu”) Vaccine;
                                             *             Shoulder Injury Related to
SECRETARY OF HEALTH                          *             Vaccine Administration (“SIRVA”).
AND HUMAN SERVICES,                          *
                                             *
               Respondent.                   *
* * * * * * * * * * * * * * * *
Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for Petitioner.
Althea Davis, United States Department of Justice, Washington, D.C., for Respondent.

                                           DECISION 1

       On September 2, 2015, Kathy Aikin (“Petitioner”) filed a petition for compensation
pursuant to the National Vaccine Injury Compensation Program. 2 42 U.S.C. §§ 300aa-1 to -34
(2006). Petitioner alleged that an influenza (“flu”) vaccine administered on November 27, 2013
caused her to suffer from a Shoulder Injury Related to Flu Vaccination (“SIRVA”).

        On June 23, 2016, the parties filed a stipulation in which they state that a decision should
be entered awarding compensation. Respondent denies that the flu vaccine caused Petitioner’s
SIRVA or any other injury or her current condition. However, the parties agree to the joint
stipulation, attached hereto as Appendix A. The undersigned finds the stipulation reasonable and
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, codified as amended at 44 U.S.C. §
3501 note (2012). As provided by Vaccine Rule 18(b), each party has 14 days within which to
request redaction “of any information furnished by that party: (1) that is a trade secret or
commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted
invasion of privacy.” Vaccine Rule 18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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adopts it as the decision of the Court in awarding damages, on the terms set forth therein.

       The parties stipulate that Petitioner shall receive the following compensation:

           A lump sum of $95,000.00 in the form of a check payable to Petitioner. This
           amount represents compensation for all damages that would be available under
           42 U.S.C. § 300aa-15(a).

       Stipulation ¶ 8.

       The undersigned approves the requested amounts for Petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation. 3

       IT IS SO ORDERED.

                                             s/ Lisa Hamilton-Fieldman
                                             Lisa Hamilton-Fieldman
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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